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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               |
JUDICIAL WATCH, INC.,                          |
                                               |
              Plaintiff,                       |
                                               |
              v.                               |    Civil Action No. 19cv0573 (JEB)
                                               |
U.S. DEPARMENT OF JUSTICE,                     |
                                               |
              Defendant.                       |
                                               |

                                 JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of May 5, 2020, Plaintiff Judicial Watch, Inc.

(“Plaintiff”) and Defendant U.S. Department of Justice, on behalf of its component-agency the

Federal Bureau of Investigation (“FBI”), by and through undersigned counsel, report to the Court

as follows.

1.     The Complaint in this action was filed under the Freedom of Information Act (“FOIA”)

       on March 1, 2019. Defendant answered the Complaint on April 8, 2019.

2.     This lawsuit involves a multipart FOIA request directed to the FBI for records of

       communications and meetings between former FBI general counsel James Baker and for

       DOJ attorney and current Perkins Coie partner Michael Sussman. (Compl. ¶ 5)

Parts 1 and 2 of the FOIA Request

3.     The FBI asserted a privacy Glomar in conjunction with FOIA Exemptions 6 and 7(C) for

       parts 1 and 2 of the request and moved for summary judgment regarding parts 1 and 2 of

       the request.

4.     On November 26, 2019, the Court issued an Order [ECF No. 17] and Memorandum

       Opinion [ECF No. 18] denying Defendant’s Motion for Summary Judgment.
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5.    On December 31, 2019, Defendant filed a Motion for Reconsideration [ECF No. 20]

      regarding the Court’s November 26, 2019, Order and Memorandum Opinion.

6.    After full briefing by the parties, the Court granted the motion in part and denied it in

      part. [ECF No. 27]. Specifically, the Court held that the Defendant may maintain a

      Glomar response for Parts 1 and 2, except for communications that demonstrate that a

      meeting between Sussman and Baker occurred in September 2016.

7.    On Wednesday, April 29, 2020, the FBI issued a response to Parts 1 and 2 by maintaining

      the Exemption 6 and 7(C) Glomar response to the matter allowed by the Court, and

      asserting an Exemption 7(D) Glomar response to the portion that seeks “communications

      that demonstrate that a meeting between Sussman and Baker occurred in September

      2016.”

Part 3 of the FOIA Request

8.    The FBI has completed the search for records and determined there are approximately

      15,000 pages of records that are potentially responsive to part 3 of the request.

9.    The FBI made its first production of non-exempt portions of responsive records in

      August 2019, and continued to make monthly productions, until they were interrupted by

      the closure of FBI’s Record/Information Dissemination Section ("RIDS") on March 17,

      2020, due to the COVID-19 pandemic.

10.   On April 29, 2020, RIDS resumed operations, but on a very limited basis due to the

      continued restraints caused by the pandemic.

11.   On May 15, 2020, the FBI was able to process 50 pages and released 11 pages with some

      redactions.

12.   On June 19, 2020, the FBI was able to process 300 pages and released 107 pages with

      some redactions.

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13.    The FBI believes that it is on schedule for a review of documents in the month of July,

       and further believes that it is now able to return to the proposed schedule of

       reviewing/processing approximately 500 pages per month.

Proposed Next Steps

14.    The parties propose that they provide the Court with a further status report regarding the

       processing of Part 3 of the request on or before September 8, 2020.



Dated: July 7, 2020

Respectfully submitted,

/s/ James F. Peterson                      MICHAEL R. SHERWIN
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